
The Disciplinary Review Board having filed with the Court its decision in DRB 18-197, concluding that Raymond F. Meisenbacher, Jr., of Bridgewater, who was admitted to the bar of this State in 1990, should be reprimanded for violating RPC 1.15(b) (failure to promptly notify a client or third person of receipt of funds and to promptly deliver those funds), and RPC 8.4(d) (conduct prejudicial to the administration of justice), and good cause appearing;
It is ORDERED that Raymond F. Meisenbacher, Jr., is hereby reprimanded; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
